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     Telephone: (916) 989-9226
 4
     Attorney for Defendant
 5   ROMMEL ANTOLIN
 6
 7
                                     IN THE UNITED STATES DISTRICT COURT
 8
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,                 )      Cr.S. 08-0318-LKK
                                               )
12                     Plaintiff,              )
13                                             )      STIPULATION AND ORDER TO
       v.                                      )      CONTINUE JUDGMENT AND
14                                             )      SENTENCING HEARING
     ROMMEL ANTOLIN, et al., 08                )
15                                             )      DATE: January 18, 2012
                                               )      TIME: 9:15 a.m.
16
                       Defendant.              )      JUDGE: Lawrence K. Karlton
17                                             )

18
19      IT IS HEREBY STIPULATED by and between the parties through their respective counsel, RUSSELL
20
     CARLBERG, Assistant United States Attorney, attorney for Plaintiff, and CARL E. LARSON, attorney
21
     for defendant, ROMMEL ANTOLIN, that the current judgment and sentencing hearing date of December
22
23   20, 2011, be vacated and rescheduled for January 18, 2012, at 9:15 a.m..

24             The reason for this continuance is that the Federal Defenders Office in engaging in complex
25   research on money losses in mortgage fraud cases. I would be remiss if I did not investigate the loss
26
     matter to a greater extent.
27
     ///
28
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 1             The following will be the new Schedule for Filing of Objections to the Presentence Report:
 2
 3                                                          OLD DATE             NEW DATE
     Counsel's written objections to the
 4   presentence report shall be delivered
     to the probation officer
 5
     and opposing counsel no later than                     November 22, 2011    December 21, 2011
 6
     The Presentence Report Shall be Filed
 7   with the Court and Disclosed to Counsel
     no Later Than                                          November 29, 2011    December 28, 2011
 8
 9   Motion for Correction of the Presentence
     Report shall be filed with the Court and
10   served on the probation officer and opposing
     counsel no later than                                  December 6, 2011     January 4, 2012
11
12
     Reply, or Statement of Non-Opposition                  December 13, 2011    January 11, 2012
13
               United States Probation Officer, Linda Alger also concurs with the above scheduled
14
15   dates.

16   Dated: November 28, 2011                Respectfully submitted,
17                                           /s/ Carl E. Larson
18                                           CARL E. LARSON
                                             Attorney for Defendant
19                                           ROMMEL ANTOLIN
20                                           BENJAMIN B. WAGNER
21   Dated: November 28, 2011                United States Attorney

22                                           /s/ Carl E. Larson for
                                             RUSSELL CARLBERG
23                                           Assistant U.S. Attorney
24
                                                     ORDER
25
       IT IS SO ORDERED.
26
27   DATED: December 1, 2011

28


                                                        2
